      Case 2:18-cv-00804-MRH-LPL Document 35 Filed 11/30/20 Page 1 of 15




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


RAYMOND BALESTRA,                              )      Civil Action No. 18-0804
individually and on behalf of all others       )
similarly situated,                            )
                                               )
                       Plaintiffs,             )      District Judge Hornak
                                               )
               v.                              )      Magistrate Judge Lenihan
                                               )
CLOUD WITH ME LTD.,                            )
GILAD SOMJEN, and ASAF ZAMIR                   )
                                               )
                                               )
                       Defendants.             )      ECF No. 29


                            REPORT AND RECOMMENDATION

I.     RECOMMENDATION

       It is respectfully recommended that the Motion to Set Aside Default Judgement and

Dismiss Asserted by Defendant Zamir (ECF No. 29) be denied.

II.    REPORT

       A.      Facts

       Plaintiff Raymond Balestra, individually and on behalf of all other individuals and

entities similarly situated, seeks to recover for alleged violations of the Securities Act of 1933

(“Securities Act”), specifically 15 U.S.C. §§ 77l(a)(1) & 77o(a). Complaint, ECF No. 1 ¶ 1.

Plaintiff alleges that, through an initial coin offering (“ICO”), Defendants Cloud With Me,

Somjen (that company’s CEO), and Zamir (that company’s CTO), in violation of the Securities

Act, sold an unregistered security (“CLD tokens”) for the purpose of raising capital “to fund the

creation of a decentralized ‘cloud’ network.” Complaint, Id. ¶¶ 2, 3. Plaintiff alleges that the ICO
      Case 2:18-cv-00804-MRH-LPL Document 35 Filed 11/30/20 Page 2 of 15




began on July 25, 2017, is ongoing, and to date, has raised at least $10 million (which notably, is

far less than the $300 million Defendants sought). Id. ¶¶ 2, 7.

       According to Defendants’ white paper (an explanatory document published in connection

with the ICO), the CLD tokens would essentially function as a form of digital currency to be

used within and in conjunction with the “decentralized cloud network” they sought to create. Id.

¶ 4. Plaintiff alleges that Defendants made representations that the value of CLD tokens would

rise once the cloud network was created and demand for them increased. Id. ¶ 6.

       Plaintiff asserts that the ICO was (and continues to be) an offer and sale of securities

that—given Defendants’ failure to register those securities—constitutes a violation of 15 U.S.C.

§ 77e(a). Id. ¶¶ 9, 13. Plaintiff further alleges that, to date, Defendants have failed to construct

the decentralized cloud network that was the impetus for this entire venture, and as a result, the

CLD tokens purchased by Plaintiff have not only failed to increase in value, but have become

nearly worthless. Id. ¶¶ 11, 18.

       Plaintiff filed this action on June 19, 2018. Complaint, ECF No. 1. On May 3, 2019, the

Clerk of Court for the Western District entered defaults against all three Defendants for failure to

appear, answer, or otherwise plead. ECF Nos. 17, 18, 19. On October 7, 2020, Defendant Zamir

filed the instant motion to set aside default. ECF No. 29. Plaintiffs filed their Brief in Opposition

on November 9, 2020 (ECF No. 31) and Zamir filed a Reply on November 23, 2020. ECF No.

34.

       B.      Legal Standard

       Fed. R. Civ. P. 55(c) governs a request to set aside the entry of default. It simply states

that a “court may set aside an entry of default for good cause . . . .” The decision to set aside the

entry of default is within the discretion of the district court. Bailey v. United Airlines, 279 F.3d



                                                   2
      Case 2:18-cv-00804-MRH-LPL Document 35 Filed 11/30/20 Page 3 of 15




194, 204 (3d Cir. 2002). The Third Circuit has instructed that courts must liberally construe a

motion to set aside an entry of default with an eye toward resolving litigation on the merits. Hritz

v. Woma Corp., 732 F.2d 1178, 1181 (3d Cir. 1984). The Circuit has established three factors for

a district court to consider in deciding whether to set aside a default: “1) whether the plaintiff

will be prejudiced; 2) whether the defendant has a meritorious defense; 3) whether the default

was the result of the defendant’s culpable misconduct.” World Entm’t Inc. v. Brown, 487 F.

App’x 758, 761 (3d Cir. 2012). “Failure to establish a meritorious defense weighs heavily

against setting aside the default” and is therefore construed as a threshold issue. Id. (citing

United States v. $55,518.05 in U.S. Currency, 728 F.2d 192, 197 (3d Cir. 1984) (referring to

whether or not a meritorious defense has been established as a “threshold question”)); see also

Empire Fire & Marine Ins. Co. v. Gutema, No. CV 18-1396, 2019 WL 1243456, at *3 (W.D. Pa.

Mar. 18, 2019) (agreeing that in $55,518.05 the Third Circuit “ruled that the establishment of a

meritorious defense is a requirement for opening both a default and a default judgment.”).

       C.      Analysis

       As an initial matter, it must be clarified that while there has been an entry of default, no

default judgement has been entered in this case. Nevertheless, the instant motion is captioned

“Motion to Set Aside Default Judgment and to Dismiss Pursuant to Rules 12(b)(2) and (5) of

Defendant Zamir,” and contains therein several references to Fed. R. Civ. P. 60(b)(4). ECF No.

29. That rule governs “Grounds for Relief from a Final Judgement, Order, or Proceeding.”

Because no final judgement has been entered in this case, Defendant’s references pertaining to

“default judgment” and Rule 60(b)(4) are wholly irrelevant. Defendant’s motion argues for the

setting aside of default and default judgement in tandem, and in doing so does contain references




                                                  3
      Case 2:18-cv-00804-MRH-LPL Document 35 Filed 11/30/20 Page 4 of 15




to (the appropriate) Fed. R. Civ. P. 55(c). This Report will focus on Defendant’s relevant Rule

55(c) arguments, and where applicable, attempt to construe in good faith his 60(b)(4) arguments.

       Defendant’s motion consists of two lines of argument: that this court lacks personal

jurisdiction over him pursuant to Rule 12(b)(2), and that Plaintiff failed to effect sufficient

service of process pursuant to Rule 12(b)(5).

               i.      Personal Jurisdiction

       Defendant correctly observes that, under Third Circuit precedent, “[a] judgment is void

within the meaning of Rule 60(b)(4) if the court that rendered it lacked personal jurisdiction over

the defendant.” Budget Blinds, Inc. v. White, 536 F.3d 244, 258 (3d Cir. 2008). However, as

discussed above, the application of Rule 60(b)(4) is not appropriate here, and Defendant makes

no reference to Rule 55(c) in his personal jurisdiction argument.

       An attempt to construe Defendant’s argument under the correct standard would find it

most comfortably falling within the “meritorious defense” prong of the 55(c) inquiry, as personal

jurisdiction does not implicate prejudice to Plaintiff nor the culpability of Defendant’s conduct

resulting in default. Because a successful 12(b)(2) motion can result in dismissal of a claim, a

lack of personal jurisdiction would clearly qualify as a “meritorious defense” under 55(c). See

$55,518.05, 728 F.2d at 195 (“[D]efendant established a meritorious defense because its

allegations, if established at trial, would constitute a complete defense.”). Yet, even with the

assistance of this remedial shoehorning, Defendant’s personal jurisdiction defense would fail on

its merits, as both of his arguments are ultimately irrelevant.

       First, Defendant claims a lack of minimum contacts with the forum state of Pennsylvania.

In support, Defendant quotes a fragment of a sentence (defining specific jurisdiction) from the

“Background” section of Pinker v. Roche Holdings Ltd. ECF No. 29 at 9. This is Defendant’s



                                                  4
      Case 2:18-cv-00804-MRH-LPL Document 35 Filed 11/30/20 Page 5 of 15




sole reference to Pinker, but even the most cursory reading of that case reveals that its

substantive text completely undermines Defendant’s argument. In Pinker, the Third Circuit

reviewed a district court’s decision to grant defendant’s motion to dismiss for, inter alia, a lack of

personal jurisdiction. Pinker v. Roche Holdings Ltd., 292 F.3d 361, 365 (3d Cir. 2002). The

defendant in that case was also a foreign company accused of violating provisions of the

Securities Act. Id. at 366, 369. Pinker unequivocally states that “[w]here Congress has spoken by

authorizing nationwide service of process, therefore, as it has in the Securities Act, the

jurisdiction of a federal court need not be confined by the defendant's contacts with the state in

which the federal court sits.” Id. at 369; cf. 15 U.S.C. §§ 77v (a) & (c) (provisions of the

Securities Act governing jurisdiction and service of process). Accordingly, the court went on to

“hold that a federal court's personal jurisdiction may be assessed on the basis of the defendant's

national contacts when the plaintiff's claim rests on a federal statute authorizing nationwide

service of process.” Pinker, 292 F.3d at 369 (emphasis added); see also Laurel Gardens, LLC v.

Mckenna, 948 F.3d 105, 122 (3d Cir. 2020) (“[W]e are not limited to the defendant's contacts

with the forum state and instead consider contacts with the nation as a whole . . . . [T]his inquiry

focuses less on federalism concerns and more on the national interest in furthering the policies of

the federal statute at issue.”); S.E.C. v. Queri, No. 08CV1367, 2009 WL 186017, at *6 (W.D. Pa.

Jan. 26, 2009) (“[A] court should look at the extent to which the defendant ‘availed himself of

the privileges of American law and . . . could reasonably anticipate being involved in litigation in

the United States.’” (quoting Pinker, 292 F.3d at 370)).

       Proceeding under the incorrect standard, defendant focuses his minimum contacts

analysis entirely on the Commonwealth of Pennsylvania. In doing so, he fails to refute or even

acknowledge the numerous allegations set out in the Complaint establishing Defendants’



                                                  5
      Case 2:18-cv-00804-MRH-LPL Document 35 Filed 11/30/20 Page 6 of 15




contacts with (and intent to avail themselves of) the United States generally. Where, as here, an

evidentiary hearing is not held on a 12(b)(2) motion, the plaintiff need only demonstrate a prima

facie case of personal jurisdiction. Metcalfe v. Renaissance Marine, Inc., 566 F.3d 324, 330 (3d

Cir. 2009) (citing O’Connor v. Sandy Lane Hotel Co., 496 F.3d 312, 316 (3d Cir. 2007));

D’Jamoos v. Pilatus Aircraft Ltd., 566 F.3d 94, 102 (3d Cir. 2009) (citing Miller Yacht Sales,

Inc. v. Smith, 384 F.3d 93, 97 (3d Cir. 2004)). A plaintiff “presents a prima facie case for the

exercise of personal jurisdiction by ‘establishing with reasonable particularity sufficient contacts

between the defendant and the [forum].’” Mellon Bank (East) PSFS, Nat’l Ass’n v. Farino, 960

F.2d 1217, 1221 (3d Cir. 1992) (quoting Provident Nat’l Bank v. Cal. Fed. Sav. & Loan Ass’n,

819 F.2d 434, 437 (3d Cir. 1987)) (other citation omitted).

       While the complaint and Plaintiff’s brief in response to the instant motion discuss a

number of actions taken by Defendant demonstrating purposeful availment of the United States

generally, two of them are particularly convincing. First, during the ICO, Defendants provided

for the purchase of CLD tokens “payable in [two different cryptocurrencies] in North America

and via credit cards and bank wire transfers elsewhere.” Complaint, ECF No. 1 ¶ 7 (emphasis

added). Second, Defendant’s white paper contained the following disclaimer:

               THE TOKENS REFERRED TO IN THIS WHITE PAPER HAVE
               NOT BEEN REGISTERED, APPROVED, OR DISAPPROVED
               BY THE US SECURITIES AND EXCHANGE COMMISSION,
               ANY STATE SECURITIES COMMISSION IN THE UNITED
               STATES OR ANY OTHER REGULATORY AUTHORITY NOR
               HAVE ANY OF THE FOREGOING AUTHORITIES
               EXAMINED OR APPROVED THE CHARACTERISTICS OR
               THE ECONOMIC REALITIES OF THIS TOKEN SALE OR
               THE ACCURACY OR THE ADDEQUACY [sic] OF THE
               INFORMATION CONTAINED IN THIS WHITE PAPER
               UNDER, THE U.S. SECURITIES ACT OF 1933 AS AMENDED,
               OR UNDER THE SECURITIES LAWS OF ANY STATE OF
               THE UNITED STATES OF AMERICA OR ANY OTHER
               JURISDICTION.

                                                 6
      Case 2:18-cv-00804-MRH-LPL Document 35 Filed 11/30/20 Page 7 of 15




Id. ¶ 39.

        Given these overt references to North America, the SEC, and the Securities Act, (and

ignoring, momentarily, the fact that Defendant has not acknowledged them in his discussion of

personal jurisdiction) any hypothetical argument against minimum contacts and purposeful

availment with the U.S. would require the court to accept that Defendant intended to sell CLD

tokens to residents of North America generally, but not within the U.S., which would then beg

the question of why Defendant’s white paper included explicit references to an American federal

agency and law.

        In addition, Defendant “anticipates that plaintiff [sic] will argue that the jurisdictional

contacts of [Defendant Cloud With Me] should be attributed to him, making him liable to suit in

Pennsylvania.” ECF No. 29 at 10. Defendant goes on to discuss why Plaintiff will fail to “pierce

the corporate veil on an alter ego theory” and attribute Defendant Cloud With Me’s contacts to

him. ECF No. 29 at 11 & n.1. The Securities Act itself establishes liability for anyone who

“controls any [company] liable under [§ 77l] . . . unless the controlling person had no knowledge

of or reasonable ground to believe in the existence of the facts by reason of which the liability of

the [company] is alleged to exist.” 15 U.S.C. § 77o(a). No “piercing of the corporate veil” is

necessary to establish Defendant’s liability under the Securities Act, and it is simply

unreasonable to assert that Defendant, as co-founder and CTO, was entirely unaware and

uninvolved with his own company’s actions that targeted the United States and profited from

CLD tokens sold to its citizens. This is not an “attribution” of Cloud With Me’s contacts to

Defendant, but rather an acknowledgment that those contacts are all one and the same.

        Admittedly, this is a close issue, as Plaintiff’s complaint does not take pains to

distinguish between the actions of each of the three Defendants that constitute contact with the



                                                   7
      Case 2:18-cv-00804-MRH-LPL Document 35 Filed 11/30/20 Page 8 of 15




United States, and Defendant’s motion and brief do not specifically deny knowledge or

participation in those actions. The D.C. District Court provided a helpful survey of the case law

in this area in In re Baan Co. Securities Litigation, 81 F. Supp. 2d 75 (D.D.C. 2000). The

minority position, discussed therein, is that personal jurisdiction may be exercised over any

“controlling person” as defined by the Securities Act. In re Baan, 81 F. Supp. 2d at 81 (citing

San Mateo Cty. Transit Dist. v. Dearman, Fitzgerald and Roberts, Inc., 979 F.2d 1356, 1369 (9th

Cir. 1992) (“If the suit is to enforce a liability created by the Securities Act, the court has

jurisdiction of the defendant wherever he may be found.”)). The majority position sees this is as

unwarranted, and requires more, namely the familiar showing that “the defendant has, by his

acts, purposefully availed himself of the forum’s benefits.” Id. at 81-82 (citing Asahi Metal

Indus. Co., Ltd. v. Superior Court of California, 480 U.S. 102 (1987)). In most of the cases

discussed, that showing involved making financial misrepresentations and signing documents

that were eventually filed with the SEC. Id. at 79-81. This is somewhat unhelpful in the instant

case where Defendants’ alleged violation of the Securities Act is predicated on an omission: their

failure to register what Plaintiff alleges was, in fact, a security.

        The Supreme Court offered some guidance in Calder v. Jones, where it held that personal

jurisdiction could be exercised over two Florida residents in California state court, and in so

doing rejected the petitioners’ argument that, because they lacked a “direct economic stake in

their employer’s sales in a distant [forum]” they could not be haled into court there. Calder v.

Jones, 465 U.S. 783, 789 (1984). The Court noted that while the petitioners “are not to be judged

according to their employer’s activities [in the forum]. . . . [T]heir status as employees does not

somehow insulate them from jurisdiction” and went on to state that because they were “primary




                                                    8
      Case 2:18-cv-00804-MRH-LPL Document 35 Filed 11/30/20 Page 9 of 15




participants in an alleged wrongdoing intentionally directed at a California resident” the

minimum contacts analysis was satisfied. Id. at 790 (emphasis added).

       As with the petitioners in Calder, Defendant is not insulated from jurisdiction in the

United States merely by virtue of his status as an employee of Cloud With Me. Defendant

founded that company, served as its CTO, and was therefore unquestionably involved in the

alleged wrongdoing. See Application to Enforce Admin. Subpoenas Duces Tecum of S.E.C. v.

Knowles, 87 F.3d 413, 418 (10th Cir. 1996) (“employees of a corporation that is subject to the

personal jurisdiction of the courts of the forum may themselves be subject to jurisdiction if those

employees were primary participants in the activities forming the basis of jurisdiction over the

corporation.” (citing Calder, 465 U.S. at 790.)).

       Plaintiff’s allegations have with reasonable particularity established Defendant’s contact

with the United States by demonstrating his status as a primary participant in conduct violating

the Securities Act. It is beyond the pale to argue, as Defendant seems to, that individuals may

violate American law and then trivially avoid liability simply because the violation was made

under the guise of their own company or by virtue of not having directly contacted the state

where a plaintiff brings their action. Indeed, were Defendant’s arguments to have merit, it is not

clear that he would be subject to liability anywhere.

               ii.     Insufficient Service of Process

       In cooperation with both a solicitor and a summons server in Ireland, Plaintiff attempted

to effect personal service on all three Defendants at their respective addresses there. First

Affidavit of Service, ECF No. 9. Plaintiff’s solicitor conducted a search at the Companies

Registration Office of Ireland (“CRO”), yielding a registered address for each Defendant. Second

Affidavit of Service, ECF No. 10 ¶¶ 4, 8. Personal service failed at all three locations. ECF No. 9



                                                    9
     Case 2:18-cv-00804-MRH-LPL Document 35 Filed 11/30/20 Page 10 of 15




¶¶ 5, 9, 13. At Defendant Zamir’s registered home address, an unidentified man told the process

server through an intercom that no one by that name lived there. Id. ¶ 5. At Defendant Somjen’s

registered home address, Plaintiff’s process server was unable to speak to anyone during four

separate visits. Id. ¶¶ 6-9. At Defendant Cloud With Me’s registered address, the process server

was told by a receptionist that neither of the individual Defendants worked there, and that “while

[Defendant Cloud With Me] may officially be registered [there], [it] does not have an operating

business presence at that address.” Id. ¶ 13.

       Following the failure of personal service, Plaintiff’s solicitor served all three Defendants

via pre-paid registered post at their addresses listed with the CRO. ECF No. 10 ¶¶ 13, 16. The

documents sent to Defendants Zamir and Somjen’s home addresses were returned as

undelivered, at which time Plaintiff’s solicitor sent them to their last known place of business,

i.e., the address registered to Defendant Cloud With Me. Id. ¶¶ 17, 18. None of the three sets of

documents mailed to Defendant Cloud With Me’s registered address were returned. Id. ¶¶ 14, 19.

       Defendant argues that, following the failure of personal service on him at his registered

business address, service by mail to that same address could not meet the standard of being

“reasonably calculated . . . to apprise interested parties of the pendency of the action.” ECF No.

29 at 14 (quoting Mullane v. Central Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950)).

Defendant is essentially arguing that, once in possession of “actual knowledge” that he could not

be reached at either his registered home address or the registered address of his business,

Plaintiff’s service by mail was not in good faith, and that this “knowing insufficiency”

constitutes good cause for setting aside default. This argument is unconvincing for several

reasons.




                                                 10
     Case 2:18-cv-00804-MRH-LPL Document 35 Filed 11/30/20 Page 11 of 15




        First, even if service on Defendant was found to be insufficient, that would not constitute

a meritorious defense. See Umbenhauer v, Woog, 969 F.2d 25, 30 (3d Cir. 1992) (“[D]ismissal of

a complaint is inappropriate when there exists a reasonable prospect that service may yet be

obtained . . . the district court should, at most, quash service, leaving the plaintiffs free to effect

proper service.”); see also ECF No. 29 at 16 (“Plaintiff . . . can [still] perfect service on Mr.

Zamir in Switzerland.”).

        Second, even accepting Defendant’s premise, it is unclear that the failure of personal

service necessarily provides a plaintiff with actual knowledge that service at that address is

impossible, particularly where, as here, Plaintiff’s subsequent service by registered mail was

delivered and not returned.

        Finally, the Federal Rules provide that “an individual . . . may be served at a place not

within any judicial district of the United States . . . by any internationally agreed means of

service that is reasonably calculated to give notice, such as those authorized by the Hague

Convention . . . .” Fed. R. Civ. P. 4(f)(1). Article 10 of the Hague Convention allows for service

by mail. See Water Splash, Inc. v. Menon, 581 U.S. __, 137 S. Ct. 1504 (2017). Ireland’s

declaration against Article 10 permits service of foreign judicial proceedings in accordance with

Irish law. ECF No. 10 ¶ 6. Under Ireland’s Superior Courts Rules, service of summons may be

effected “by the sending of a copy of the summons by registered prepaid post in an envelope

addressed to the person to be served at his last known residence or place of business in the

State.” Irish Superior Courts Rules Order 9, rule 2(1)(iii), www.courts.ie/rules/service-summons

(emphasis added). Additionally, sections 50 and 51 of the Irish Companies Act of 2014 require,

respectively, that companies “shall, at all times, have a registered office in the State to which all

communications and notices may be addressed” and that service may be effected on a company



                                                   11
     Case 2:18-cv-00804-MRH-LPL Document 35 Filed 11/30/20 Page 12 of 15




by “sending it by post to the registered office of the company[.]” Companies Act 2014 (Act No.

38/2014) (Ir.), www.irishstatutebook.ie/eli/2014/act/38/enacted/en/print.

       While it is unclear what more could have been done to effect service on Defendant, it is

undisputed that Plaintiff’s service comported with the Federal Rules, and pursuant to them, the

Hague Convention and Irish law. Not only do the Federal Rules explicitly endorse service under

the Hague convention as being reasonably calculated to give notice, but Irish law places an

affirmative obligation on companies to maintain an office, registered with the CRO, where

service may be effected. Taken together, it is unclear why Plaintiff’s legally valid service, by

registered mail, to an address provided by Defendants, should be invalidated by his prior attempt

to effect a more thorough and expensive form of service. See Moody Nat’l FFI Meadowlands

MT, LLC., v. Gager, No. 12-2124, 2013 WL 622128, at *9 (D.N.J. Jan. 24, 2013) (finding that

prior failed attempts at personal service did not invalidate subsequent and otherwise valid service

by mail under Article 10).

       Moreover, Defendants’ website continues to reflect the same address that is registered

with the CRO, and states that Cloud With Me is “based in” Dublin, Ireland. Plaintiff’s Brief in

Response, ECF No. 31, at 10 n.8; cloudwith.me/about; see also cloudwith.me/contacts. Do the

Defendants no longer operate their business at that address? If so, why was none of the service

sent by registered mail to that address not returned? Why have they failed, in violation of Irish

law, to update their registered address with the CRO? Why do they continue, more than two

years after personal service failed at that address, to hold it out as valid on their own website?

       Defendant’s motion provides no answers to these questions, offering only the threadbare

musing that Plaintiff “might have reasonably expected that [Defendant] would work remotely”

and that, because Defendant currently resides in Switzerland, it is “unlikely that his principal



                                                 12
     Case 2:18-cv-00804-MRH-LPL Document 35 Filed 11/30/20 Page 13 of 15




place of business really is in Ireland.” ECF No. 29 at 15. Defendant offers no explanation for

how or why Plaintiff should have been aware that he now lives in Switzerland. ECF No. 31, at

11 n.11 (“Defendant Zamir provided no forwarding address for himself nor his company . . .

following his move from Dublin Ireland to Switzerland in March of 2018 and does not claim to

have notified any relevant authority of his move.”).

       As with his personal jurisdiction argument, taking Defendant’s assertions to their logical

conclusion yields another absurd result: that any company can easily evade service by simply

claiming to not be present at its advertised and registered address. Short of employing a globe-

trotting private investigator to track down Defendant, it is unclear what more Plaintiff could have

done. The law, however, is clear, and Plaintiff’s service by registered mail was sufficient.

       Although the Court concludes that Defendant has failed to establish the threshold issue of

showing a meritorious defense, it will briefly address the issues of prejudice to the Plaintiff and

Defendant’s culpability in the entry of default.

       ii. Prejudice to Plaintiff/Defendant’s Culpability

       As Plaintiffs argues in Response, they have already moved for and obtained class

certification, the case is already over two years old and the longer it takes for the case to come to

conclusion, Plaintiffs’ chances of obtaining any recovery lessen. ECF No. 31 at 20-21. The time

lapse will have impacted discovery and allowing Defendant to reopen at this time, after proper

service was made and the case is over two years old, will cause prejudice to Plaintiffs in their

attempt to pursue any recovery. See Luo v. Qiao Xing Universal Res., Civ. No. 12-0045, 2018

WL 283146, at *4 (D.V.I. Jan. 2, 2018).

       The third factor, whether Defendant was culpable, requires the Court to determine if he

acted willfully or in bad faith. Feliciano v. Reliant Tooling Co., Ltd., 691 F.2d 653, 657 (3d Cir.



                                                   13
       Case 2:18-cv-00804-MRH-LPL Document 35 Filed 11/30/20 Page 14 of 15




1982). Defendant was served, or service was attempted, at both his registered home and business

address. Yet Defendant argues that somehow Plaintiffs should have known that he might be

working remotely and/or that he had relocated to Switzerland. The Complaint was filed on June

19, 2018 and summonses were issued that day. ECF No. 1. On October 18, 2018, Defendants had

been served. ECF No. 10 at 2. However, according to Defendant, he had moved from his

registered address in Dublin to Switzerland in March 2018, (ECF No. 34 at 15) leaving no

forwarding address for himself or his company. ECF No. 29-1 at 3, ECF No. 31 at 30. Defendant

argues that he was under no obligation to notify anyone of his new address. The Court notes

Plaintiffs’ assertion that Zamir’s company continues to list the business address in Dublin on the

Cloud website. ECF No. 31 at 16, n.8. Defendant’s conduct fits squarely within conduct

intentionally designed to avoid service of process and is therefore both willful and in bad faith.

See Super Laundry Equip. Corp. v. Chan, Civ. No. 13-7381, 2015 WL 3953887, at *5 (D.N.J.

June 29, 2015) (citing Hritz v. Woma Corp., 732 F.2d 1178, 1182 (3d Cir. 1984)). Coupling this

with the lack of a meritorious defense leads to the clear conclusion that no good cause exists to

set aside the default.

III.    CONCLUSION

        For the reasons discussed above, it is respectfully recommended that the Motion to Set

Aside Default Judgement and Dismiss Asserted by Defendant Zamir (ECF No. 29) be denied1.

        In accordance with the Magistrate Judges Act, 28 U.S.C. § 636(b)(1)(B)-(C), and Rule

72.D.2 of the Local Rules of Court, the parties are allowed fourteen (14) days from the date of

service of a copy of this Report and Recommendation to file objections. Any party opposing the


1Plaintiffs argue at the end of their brief that Defendant failed to follow the Court’s requirement that he
meet and confer prior to filing any Motion to Dismiss and therefore the Motion should be stricken as
procedurally improper. ECF No. 2. While this is correct, the Court doubts that it would have had much
impact on the end result and has therefore moved to the merits.

                                                     14
     Case 2:18-cv-00804-MRH-LPL Document 35 Filed 11/30/20 Page 15 of 15




objections shall have fourteen (14) days from the date of service of objections to respond thereto.

Failure to file timely objections will constitute a waiver of any appellate rights.



Dated: November 30, 2020

                                                       BY THE COURT




                                                       LISA PUPO LENIHAN
                                                       United States Magistrate Judge




                                                 15
